                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                              AUSTIN DIVISION

Jedidiah Murphy,             :
                 Plaintiff,  :
                             :
v.                           : Case No. 1:23cv1199 (RP/SH)
                             :
Bobby Lumpkin, et al.,       : THIS IS A CAPITAL CASE
                             : WITH EXECUTION SET FOR
                 Defendants. : OCTOBER 10, 2023
                             :
    REPLY IN SUPPORT OF MOTION FOR STAY OF EXECUTION

       Defendants have now confirmed in this forum – for the first time, despite

repeated inquiries – that they intend to execute Mr. Murphy with pentobarbital that

was exposed to a catastrophic fire on August 25th, 2023.1

       Jedidiah Murphy’s pending § 1983 action seeks to enjoin them from doing

precisely that. Defendants try to cast the upcoming October 10 th execution as run-

of-the-mill, arguing that Mr. Murphy could have filed his suit years ago, and that

there is simply “nothing to see here!”. But that obfuscation just continues

Defendants’ suppression of meaningful information about the state of their

pentobarbital post-fire.




1
  Defendants confirm this by implication and omission. If they had any way to argue that their
pentobarbital was not exposed to the fire, that would have been their easiest and strongest argument
in opposition to Mr. Murphy’s Motion for Stay. They clearly do not have that argument to make.


                                                                                                  1
       I.      TDCJ’s pentobarbital was clearly damaged by the August 25, 2023
               fire, and Defendants fail to refute that. Mr. Murphy’s factually-
               supported claims thus clearly meet the legal test for a stay.

       Defendants do not dispute that their pentobarbital was directly exposed to a

massive, catastrophic building fire on August 25, 2023. Yet, even though Mr.

Murphy put Defendants on clear notice that “potency” testing does not resolve

legitimate concerns about their chemical’s safety in the wake of that exposure, see

Complaint, paras. 50-51 (pH must be tested, and solutions visually examined for

particulates), paras. 53-56 (“potency” testing is not a stability-indicating test), the

only tests TDCJ appears to have performed since the August 25, 2023 fire are

potency and sterility tests. See Exhibit A to Defendant’s Opposition.2

       Defendants argue that Mr. Murphy’s execution will not violate his

constitutional rights, because prior federal challenges to Texas’s method of

execution have failed. Defendants’ Opposition at 10-12. They specifically argue that

Mr. Murphy’s claims about drug expiration are foreclosed by Fifth Circuit

precedent. Defendants’ Opposition at 12. Neither of these arguments speak to the

likelihood of success of Mr. Murphy’s instant action, because Mr. Murphy’s claims

are different in two determinative ways:



2
  In addition, Defendants do not even state that the specific vials they tested are the ones they will
use on October 10th, 2023, to execute Mr. Murphy. This is another flaw with their testing methods
that Mr. Murphy raised in his pending Complaint. See Exhibit 6 to Complaint, at para. 28 (testing
of any single vial is a faulty method to draw any conclusions about an entire batch of compounded
pentobarbital).


                                                                                                    2
           1. Mr. Murphy’s claims all arise from the August 25, 2023, fire;3 and

           2. Mr. Murphy’s complaint includes non-Eighth-Amendment claims
              (including Claims 2, 3, and 4) that are not governed by the prior caselaw
              Defendants cite. For example, Claim 2 alleges that Texas is violating
              his procedural due process rights by failing to provide a remedy for
              state-created liberty interests.

       Even as to Mr. Murphy’s Eighth Amendment claim, to which the Defendants’

legal authority is in fact applicable, the unique factual circumstances arising from

the Hunstville Unit fire meet all the factors of Nken v. Holder, 556 U.S. 418, 434

(2009), as applied by Young v. Gutierrez, 895 F.3d 829, 831, and O’Bryan v. Estelle,

69` F.2d 706, 708 (5th Cir. 1982). See Motion for Stay, at 3-6 (identifying and

applying the factors to this case). Defendants have not offered any persuasive

argument that these unique factual circumstances fail to satisfy these governing

authorities, particularly the Fifth Circuit’s holding in O’Bryan that: “In a capital

case, the possibility of irreparable injury weighs heavily in the movant’s favor. . . .

we must be particularly certain that the legal issues ‘have been sufficiently litigated,’


3
  Claim 1 alleges that TDCJ is going to use fire-damaged drugs, and argues in support that the
expiration of those drugs only amplifies the deleterious effects of the fire. Complaint, paras. 4-6;
para. 39 (“Other problems with TDCJ’s pentobarbital predated the Huntsville Unit fire; but those
issues and the fire’s damage reciprocally amplify one another.”). Claim 2 alleges that TDCJ’s
violation of state laws violates substantive due process and equal protection, including the
violation of a state-law requirement that “Any drug which has been exposed to excessive heat,
smoke, or other conditions which may have caused deterioration shall not be dispensed.”
Complaint, para. 69(a). Claim 3 argues that Texas is violating Mr. Murphy’s substantive due
process rights because they have provided him a liberty interest against “torture, or ill treatment,
or unnecessary pain,” yet provide no procedure to enforce it once an execution date is set, “even
though the factual grounds for his claim did not arise until after his execution was scheduled.”
Para. 84 (emphasis added). Claims 4 and 5 incorporate the factual and legal allegations already
discussed.


                                                                                                  3
and the criminal defendant accorded all the protections guaranteed him by the

Constitution of the United States.” O’Bryan, 681 F.2d at 708 (quoting Evans v.

Bennett, 440 U.S. 1301, 1303 (1979) (Rehnquist, J., granting a stay of execution)).

       Defendants’ single argument concerning the Huntsville Unit fire – which they

briefly make on Page 1 of their Opposition and then reference again only once – is

that: “his claims that the lethal injection drugs are . . . ‘fire-blighted’ . . . are also

rebutted by Defendants’ recent retesting of the drugs, which verified the drugs’

potency and sterility.” Opposition at 1; see also Opposition at 12 (“Even considering

Murphy’s fire claim through the ‘as applied’ lens, Murphy has not adequately

demonstrated a substantial risk of serious harm. The Defendants have attached an

affidavit and lab report dated after the TDCJ fire showing that the execution drugs

were tested by an independent laboratory and remain potent and sterile.”) (bold

emphasis added). These factual arguments do not begin to address Mr. Murphy’s

actual allegations, since, as noted above and in the Complaint, “potency” testing

does not resolve legitimate concerns about a chemical’s safety in the wake of

extreme heat exposure. See Complaint, paras. 50-51 (pH must be tested, and

solutions visually examined for particulates), paras. 53-56 (“potency” testing is not

a stability-indicating test).4


4
  Sterility testing is beside the point, as that concerns only the presence of foreign bacterial
contamination – not a change in chemical structure nor the presence of chemical particulates in the
suspension. See Defendants’ Exhibit A, noting sterility testing for “bacterial endotoxins.”


                                                                                                 4
      II.    All of Mr. Murphy’s claims arose from the August 25, 2023 fire;
             and he has acted diligently since learning about that event.

      Defendants erroneously accuse Mr. Murphy of “abusive delay,” both because

he filed his stay motion “over a month” after the catastrophic fire, and because he

apparently could have filed his claims years before the fire even occurred. Instead,

both Mr. Murphy and his counsel began investigating the fire immediately upon

hearing about it (from news media), including by filing Public Information Act

requests and waiting as long as reasonably possible for Defendants’ responses before

filing this federal action. It is the Defendants who failed to timely comply (or to

comply at all) with these PIA requests. In light of Defendants’ total lack of

responsiveness or transparency, Mr. Murphy had no choice but to file the instant

civil rights action when he did.

      These are the specific steps that Mr. Murphy and his counsel took upon

learning of the August 25, 2023, fire:

             ● Counsel immediately began investigation (through media reports,
               preliminary witness interviews, and requests for information from
               responding fire departments) into the extent of the fire, including
               whether it directly impacted the administration offices at the prison
               where the pentobarbital was believed to be stored;

             ● Beginning on September 8th, 2023, counsel diligently submitted
               Public Information Act requests to TDCJ, to which she has yet to
               receive any substantive response, see Complaint at paras. 30-38;

             ● On September 19, 2023, Mr. Murphy filed an inmate grievance
               specifically about the impact of the fire on TDCJ’s pentobarbital,
               which, Defendants note, they are not legally required to address

                                                                                  5
                 before his scheduled execution, See Defendant’s Exhibit B.5 Mr.
                 Murphy had also informally tried to raise this issue with TDCJ staff,
                 as noted in his grievance form, id.;

             ● Counsel research, drafted and filed a writ petition on the subject in
               the Dallas County District Court on September 27, 2023, Ex Parte
               Murphy, No. W-0002424-D;

             ● Concerned about the approaching execution date, counsel filed the
               instant civil rights action in this Court on October 4, 2023, even
               though the state district court had yet to rule on the pending state
               writ;

             ● Counsel then filed the instant Motion to Stay Execution on October
               5, 2023.

In summary, there is little (if anything) more that Mr. Murphy or his counsel could

do to demonstrate diligence concerning this unanticipated catastrophic event at a

TDCJ facility.

      III.   Mr. Murphy has done everything humanly possible to exhaust his
             administrative remedies with regard to all of his claims.

      On September 19, 2023, after informally raising his complaint with prison

staff, Mr. Murphy filed a Step 1 inmate grievance specifically about the impact of

the fire on TDCJ’s pentobarbital. Defendants’ Exhibit B. As Defendants have

already noted, TDCJ’s deadline to respond to this grievance falls after the scheduled

execution date. Defendant’s Opposition, at 9 (deadline for TDCJ’s response to the



5
  Back on May 25, 2023, Mr. Murphy independently grieved the fact that TDCJ’s
pentobarbital was expired. On June 23, 2023, he filed a Step 2 Grievance on the same
issue. State’s Exhibit C.


                                                                                    6
Step 1 grievance is October 29, 2023); and it appears they do not plan to address it

sooner. See Defendant’s Exhibit B.

       Mr. Murphy is incarcerated – not at the prison where the fire took place – with

limited access to communication and news; and even his counsel had trouble

discovering clear information about the event. Yet, Mr. Murphy still managed to file

his Step 1 Grievance approximately three weeks after the fire. There are no further

procedural steps he can take until TDCJ responds to his Step 1 grievance, the timing

of which is entirely out of his control; thus, he has followed every step of the

administrative remedy’s process that any human being in his situation could. As was

the case in Ramirez v. Collier, “In the context of Texas’s grievance system, that is

enough.” Ramirez v. Collier, 142 S. Ct. 1264, 1276 (2022). Furthermore, like in

Ramirez, Mr. Murphy clearly would be able to amend his Complaint once TDCJ acts

on his pending grievance. According to the Supreme Court in Ramirez, that would

“cure” any existing exhaustion defect. Id.6

       Defendants separately argue that Mr. Murphy failed to fully exhaust the

portion of his claims concerning TDCJ’s violation of a myriad state laws governing


6
   Further, as Justice Sotomayor noted in her concurring opinion in Ramirez, TDCJ’s delay in
responding to Mr. Murphy’s Step 1 grievance “raises questions” and “creates an impression,
whether valid or not, that the prison is trying to ‘thwart inmates from taking advantage of [the]
grievance process’ and cut short their opportunity to obtain judicial review.” 142 S. Ct. at 1285
(Sotomayor, J., concurring) (quoting Ross v. Blake, 578 U. S. 632, 644 (2016)). “If an
administrative system does not permit complete exhaustion of execution-related claims in a timely
manner before a scheduled execution, it may be unavailable for the purposes of those claims even
if it would be available for other types of claims.” Id. at n.* (Sotomayor, J., concurring).


                                                                                               7
safe use of pentobarbital, though they acknowledge that he did fully exhaust his

argument that the drugs are expired. Defendants’ Opposition at 9-10 & n.4.

Defendants’ technical parsing of Mr. Murphy’s claim is disingenuous. His

arguments concerning state-law violations are not independent civil rights claims in

the instant action; they are instead factual assertions (see paragraph 69 of his

Complaint) supporting his federal constitutional claims. Mr. Murphy sufficiently

exhausted his federal constitutional claims – including those partially based on

TDCJ’s violations of state law – months ago by taking the following grievance

through the full TDCJ step 1 and step 2 processes:

     I believe TDCJ is using expired drugs for executions. TDCJ is not
     following execution protocols. I believe the lethal drugs are not
     pentobarbitol [sic]. For these reasons, my execution will violate State law
     and my Texas and Federal Constitutional rights.

Defendants’ Exhibit C, Step 1 Grievance dated May 25, 2023.

     The response is insufficient because TDCJ continues to incorrectly define
     the term “expired.” I believe TDCJ is using expired drugs for executions.
     TDCJ is not following execution protocols. I believe the lethal drugs are
     not pentobarbitol [sic]. For these reasons, my execution will violation
     State law and my Texas and Constitutional rights.

Defendants’ Exhibit C, Step 2 Grievance dated June 23, 2023.




                                                                                   8
                         Respectfully Submitted,




                         __                    ______
Katherine Froyen Black   Catherine Clare Bernhard
205 Blue Ridge Trail     P.O. Box 506
Austin, Texas 78746      Seagoville, Texas 75159
415-847-6127             972-294-7262
kfroyen@gmail.com        fax – 972-421-1604
Texas Bar No. 24099910   cbernhard@sbcglobal.net
                         Texas State Bar No. 02216575
Pro Hac Vice pending




                                                        9
                         CERTIFICATE OF SERVICE

      I hereby certify that on this date, the 6th day of October, 2023, I effected

service of the foregoing pleading on the following counsel for all Defendants by

email (and/or ECF notification) to:


                                Ali Nassir, Assistant Attorney General
                                Office of the Attorney General of Texas
                                Post Office Box 12548, Capitol Station
                                Austin, Texas 78711
                                Tel: (512) 936-2134
                                Ali.Nasser@oag.texas.gov




                                ____                     _________




                                                                               10
                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

Jedidiah Murphy,                            :
                       Plaintiff,           :
                                            :
v.                                          :      Case No. ______________________
                                            :
Bobby Lumpkin, Director of                  :
Correctional Institutions,                  :
Texas Dept. of Criminal Justice,            :
                                            :      THIS IS A CAPITAL CASE
Kelly Strong, Warden, Texas State           :
Penitentiary Huntsville Unit,               :
                                            :      EXECUTION SET FOR
Bryan Collier, Executive Director,          :      OCTOBER 10, 2023
Texas Dept. of Criminal Justice,            :
                                            :
                       Defendants.

           [PROPOSED] ORDER ON MOTION FOR STAY OF EXECUTION

       In conjunction with his civil rights complaint pursuant to 42 U.S.C. § 1983 (Docket Entry

__), Jedidiah Murphy has filed a Motion for a Stay of Execution, scheduled for October 10, 2023.

Upon due consideration, the Court GRANTS the Motion and VACATES the April 21, 2023 order

setting his execution and RECALLS the warrant of execution issued on May 1, 2023.

       It is so ordered.



       Signed on this _______ day of _____________ 2023.



                                     _______________________________________
                                     Hon. Robert Pitman, United States District Judge




                                                                                             11
